                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF ALASKA

FREDILITO TUMBAGA, et al.,
          Plaintiffs,
                                                Case Number 3:06-cv-00247-SLG
v.

UNITED STATES OF AMERICA,
          Defendant.                            JUDGMENT IN A CIVIL CASE


     JURY VERDICT. This action came before the court for a trial
by jury. The issues have been tried and the jury has rendered its
verdict.


 X   DECISION BY COURT. This action came before the court. The
issues have been duly considered and a decision has been rendered.

            IT IS ORDERED AND ADJUDGED:

        THAT the plaintiffs recover nothing, the action be
dismissed on the merits, and the defendant United States of America
recover costs in the amount of $___________________ from plaintiffs
Fredilito Tumbaga, Evan Tumbaga, Jaden Tumbaga, and Justin Tumbaga
by Evan Tumbaga, his parent.


APPROVED:

  /s/Sharon L. Gleason
 SHARON L. GLEASON
 United States District Judge
 Date: August 7, 2012
 NOTE: Award of prejudgment interest,               Marvel Hansbraugh
 costs and attorney's fees are governed              Marvel Hansbraugh,
 by D.Ak. LR 54.1, 54.3, and 58.1.                     Clerk of Court




[306cv247SLG-judgment.wpd]{JMT2.WPT*Rev.3/03}




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